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                                                                      FILED: August 7, 2023

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

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                                             No. 22-1654 (L)
                                          (1:21-cv-00556-SAG)
                                         ___________________

        In re: GRAND JURY 2021 SUBPOENAS

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        UNDER SEAL 1; UNDER SEAL 2

                       Movants - Appellants

         and

        UNDER SEAL 3; UNDER SEAL 4; UNDER SEAL 5; UNDER SEAL 6;
        UNDER SEAL 7

                       Movants

        v.

        UNITED STATES OF AMERICA

                       Respondent - Appellee

                                         ___________________

                                              ORDER
                                         ___________________

               The court grants the government’s motion for extension and extends the time

        for filing a response to the court’s notice to August 14, 2023.
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                                        For the Court--By Direction

                                        /s/ Patricia S. Connor, Clerk
